
Alleviation Medical Services, P.C. as Assignee of DWAYNE MILLER, Respondent,
againstHertz Co., Appellant.



Appeal from a judgment of the Civil Court of the City of New York, Queens County (Maureen A. Healy, J.), entered July 17, 2013. The judgment, entered pursuant to an order of the same court entered July 9, 2013 granting plaintiff's motion for summary judgment and denying defendant's cross motion for summary judgment dismissing the complaint, awarded plaintiff the principal sum of $5,836.94.




ORDERED that the judgment is reversed, with $30 costs, so much of the order entered July 9, 2013 as granted plaintiff's motion for summary judgment is vacated and plaintiff's motion for summary judgment is denied.
For the reasons stated in Alleviation Med. Servs., P.C. as Assignee of Dwayne Miller v Hertz Co. (___ Misc 3d ___, 2016 NY Slip Op ___ [appeal No. 2013-1688 Q C], decided herewith), the judgment is reversed, so much of the order entered July 9, 2013 as granted plaintiff's motion for summary judgment is vacated and plaintiff's motion for summary judgment is denied.
Pesce, P.J., Aliotta and Elliot, JJ., concur.
Decision Date: March 16, 2016










